                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

OLIVIA TAYLOR,                                          §
     Plaintiff,                                         §
                                                        §
v.                                                      §    CIVIL ACTION NO. H-05-2711
                                                        §
HSBC MORTGAGE SERVICES,                                 §
INC., et al.,                                           §
      Defendants.                                       §

                                              MEM ORANDUM AND ORDER

           This case is before the Court on Plaintiff Olivia Taylor’s Motion to Remand

[Doc. # 28], to which no opposition has been filed. The original defendants removed

this case to federal court on the basis of diversity jurisdiction. After the case was

removed, several non-diverse defendants were added after Plaintiff was granted leave

to file two amended complaints. See Amended Complaint [Doc. # 12]; Order [Doc.

# 13]; Second Amended Complaint [Doc. # 18]; Order [Doc. # 24].

           Remand to state court is required if, after removal, the plaintiff joins additional

defendants whose joinder destroys subject matter jurisdiction.               See 28 U.S.C.

§ 1447(e); Cobb v. Delta Exports, Inc., 186 F.3d 675, 677 (5th Cir. 1999)

(“post-removal joinder of non-diverse defendants . . . destroys diversity for




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jurisdictional purposes and requires remand, even when the newly joined defendants

are not indispensable”). Accordingly, it is hereby

           ORDERED that Plaintiff’s Motion to Remand [Doc. # 28] is GRANTED in

accordance with 28 U.S.C. § 1447(e). The Court will issue a separate Remand Order.

           SIGNED at Houston, Texas, this 19th day of April, 2006.




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